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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


MONTAVIOUS K. ASKEW,                       )
                                           )
        Plaintiff,                         )
                                           )            CIVIL ACTION NO.
        v.                                 )              2:19cv398-MHT
                                           )                   (WO)
TIMOTHY ISSAC*, et al.,                    )
                                           )
        Defendants.                        )

                                        OPINION

    Pursuant to 42 U.S.C. § 1983, plaintiff, a state

prisoner,           filed    this        lawsuit        bringing        claims     of

excessive           force,    failure       to     intervene,       failure        to

protect           from    harm,    and     deliberate          indifference        to

serious medical needs.                  This lawsuit is now before the

court        on     the    recommendation          of    the     United     States

Magistrate Judge that defendants’ motion for summary

judgment be granted in part and denied in part.                                  Also

before       the     court    is    a    document        filed     by    plaintiff

called “Motion of Responses and Argument to Defendants

    *
      The clerk of court will be directed to amend the
docket to reflect the correct spelling of defendant
Issac’s name, as shown in his affidavit (Doc. 33-7).
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Claim”     (Doc.   71),    which    the    court    will    treat      as

plaintiff’s objections to the recommendation.                 After an

independent and de novo review of the record, the court

concludes     that     plaintiff’s        objections       should      be

overruled    and     the   magistrate     judge’s     recommendation

adopted.

    An appropriate judgment will be entered.

    DONE, this the 24th day of August, 2022.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
